Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 1 of 15




                   EXHIBIT A




                               1
       Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 2 of 15




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE                               )
COMMISSION,                                           )
                                                      )
                            Plaintiff,                )
                                                      )
                       v.                             )      Civil Action No. 1:23-cv-01599-ABJ
                                                      )
BINANCE HOLDINGS LIMITED,                             )
BAM TRADING SERVICES, INC.,                           )
BAM MANAGEMENT US HOLDINGS,                           )
INC., and CHANGPENG ZHAO,                             )
                                                      )
                             Defendants.              )


                      PROPOSED STIPULATION AND CONSENT ORDER

       Pursuant to Section 21(d) of the Securities Exchange Act of 1934 and Section 20(b) of

the Securities Act, and in order to preserve the status quo, Plaintiff Securities and Exchange

Commission (“Commission” or “SEC”) and Defendants Binance Holdings Limited

(“Binance”), BAM Trading Services, Inc. (“BAM Trading”), Changpeng Zhao (“Zhao”), and

BAM Management US Holdings, Inc. (“BAM Management,” together with Binance, BAM

Trading, Zhao, the “Stipulating Defendants,” and together with the SEC the “Stipulating

Parties”), hereby stipulate and consent, without a hearing, to the Court’s entry of this Stipulation

and Consent Order (“Consent Order”) as set forth below pending the Court’s final adjudication

of this matter or until further order of the Court.

       The Stipulating Parties agree and the Court finds that the Court has jurisdiction over the

subject matter of this action, and that venue properly lies in this District.

       Accordingly, based on the agreement of the Stipulating Parties and for good cause

shown, it is hereby

                                                 1
      Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 3 of 15




ORDERED:

                                               I.

       On or before the date the Court issues this Consent Order, the Stipulating Defendants

shall repatriate to the United States, transfer to BAM Trading, and confirm that BAM Trading

maintains possession, custody and control in the United States of all fiat currency and crypto

assets that are deposited, held, traded, or accrued by customers, including affiliated and non-

affiliated liquidity providers (hereinafter referred to as “Customers”) on the crypto trading

platform commonly known as “Binance.US” or otherwise held for the benefit of BAM

Customers, including, but not limited to, those assets associated with BAM’s staking-as-a-

service program, private and administrative keys, and any portion or copy thereof (including the

any devices, hardware, and/or software managing such keys, and the root access associated with

the Amazon Web Services account(s) for the Binance.US Platform) and any hardware crypto

asset wallets (hereinafter referred to as “Customer Fiat Assets” or “Customer Crypto Assets”

and, collectively, “Customer Assets”), except as otherwise specified in this Consent Order. For

the avoidance of doubt, U.S.-based personnel for BAM Trading and BAM Management, not to

include Zhao, will have complete control over Customer Fiat Assets and Customer Crypto

Assets, including assets associated with BAM’s staking-as-a-service program, all private and

administrative keys, and any portion or copy thereof (including the any devices, hardware,

and/or software managing such keys, and the root access associated with the Amazon Web

Services account(s) for the Binance.US Platform) that control any wallets, staking operations,

and/or any withdrawals, transfers, or movement of assets, which movement will be solely for

purposes of honoring BAM Customer redemptions as set forth in Sections II.6-7 of this Consent

Order. of Nothing in this paragraph will prevent BAM Trading from relying on non-affiliated


                                               2
        Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 4 of 15




 third-party custodians located within the United States to provide custody and related services.

                                                 II.

       IT IS FURTHER ORDERED that on or before the date the Court issues this Consent

Order, Stipulating Defendants will, through their officers and employees or a non-affiliated third

party custodian, ensure, and each confirm to counsel of record for the SEC, that BAM Trading

and BAM Management obtain and maintain sole possession, custody, and control of all Customer

Assets and can transfer them solely for purposes of honoring BAM Customer redemptions as set

forth in Sections II.6-75, and subject to the other provisions of this Consent Order, and all

transfers and withdrawals of Customer Assets will solely be under the direction and control of

BAM Trading and BAM Management, through officers and employees located in the United

States, not to include Zhao, or under the control of a non-affiliated third party custodian located

in the United States;

         1.      IT IS FURTHER ORDERED that BAM Trading and BAM Management will

 not provide possession, custody, or control over Customer Assets to any individual or entity,

 including Binance, Zhao, and any individual or entity with any affiliation, agreement, or other

 relationship with Binance, Zhao, or any Zhao- owned or -controlled entity, with the exception

 of BAM Trading and BAM Management (collectively, “Binance Entities”). BAM Trading and

 BAM Management, including their officers and employees, will remove and not designate any

 such individual or entity as an administrator, account holder or signatory of , or otherwise having

 any authority to transfer or withdraw from, any account or wallet holding Customer Assets,

 without first obtaining leave of the Court. Further, Stipulating Defendants including their

 employees or agents, will delete or destroy, and will ensure the Binance Entities delete or

 destroy, any existing copies of private or administrative keys and/or effect the immediate



                                                 3
       Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 5 of 15




dissolution of any existing formal or informal agreements (whether written or verbal) for the

control, exercise of control, or transfer of private or administrative keys or Customer Assets,

that would facilitate or permit any transactions or actions contrary to this Consent Order’s

requirement that Customer Assets be held solely by BAM Trading and BAM Management in

the United States and may be transferred solely for the purpose permitting customer redemptions

not including the Binance Entities as set forth in Sections II.6 -7 herein. This paragraph does

not limit BAM Trading’s ability to provide customers other than the Binance Entities with

possession, custody, or control over their own Customer Assets or rely on non-affiliated third-

party custodians to provide custody and related services for Customer Assets.

       2.      IT IS FURTHER ORDERED that within 14 days of entry of the Consent

Order, BAM Trading and BAM Management will establish new wallets, and Stipulating

Defendants will begin to transfer all Customer Crypto Assets to the new wallets with new private

keys. These private keys, and any portion or copy thereof, (including any devices, hardware,

and/or software managing such keys, and the root access associated with the Amazon Web

Services account(s) for the Binance.US Platform) will be in the sole possession, custody, and

control of BAM Trading officers and employees who are located in the United States, and these

private and administrative keys, and any portion or copy thereof (including any devices,

hardware, and/or software managing such keys, and the root access associated with the Amazon

Web Services account(s) for the Binance.US Platform), will not be provided to or in any way

shared with the Binance Entities. BAM Trading shall confer with counsel of record for the SEC

regarding a reasonable timeline for completing this work and will provide them with the

addresses for all new wallets holding Customer Assets, both hot and cold, and will identify the

specific crypto asset(s) held within each wallet.



                                                4
        Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 6 of 15




        3.       IT IS FURTHER ORDERED during the pendency of this litigation that:

             a. Defendants BAM Management and BAM Trading and their agents, servants,

employees, attorneys-in-fact, and those persons in active concert or participation with them who

receive actual notice of this Order by personal service or otherwise (including without limitation,

all financial and brokerage institutions identified on Exhibit A to this Order), and each of them,

shall hold and retain within their control, and otherwise prevent any disposition, transfer, pledge,

encumbrance, assignment, dissipation, concealment, or other disposal whatsoever of any of

BAM Management and BAM Trading’s funds or other assets or things of value presently held by

them, under their control, or over which they exercise actual or apparent investment or other

authority, in whatever form such assets may presently exist and wherever located, including, but

not limited to, all funds or assets in those accounts identified on Exhibit A to this Order except as

expressly set forth in Sections II. 5-7 of this Consent Order;

             b. That any financial or brokerage institution or other person or entity holding any funds

or other assets in the name of, for the benefit of, or under the custody or control of Defendants BAM

Management and BAM Trading, shall hold and retain within their control and prohibit the

withdrawal, removal, transfer or other disposal of any such funds or other assets except as expressly

set forth expressly set forth in Sections II .5-7. of this Consent Order.

             c. To the extent that a brokerage firm holds a brokerage account for Defendant BAM

Management or Defendant BAM Trading that contains options, the brokerage firm shall exercise

business judgment to close or sell the position and/or take other reasonable steps to preserve and

maximize the value of Defendant BAM Management or Defendant BAM Trading’s accounts and to

prevent dissipation of the assets. The brokerage firm shall ensure that all net proceeds of any such

activity remain in that account and subject to the asset freeze ordered in this case.

         4. IT IS FURTHER ORDERED that the asset freeze ordered in Section II.3 above

                                                     5
       Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 7 of 15




shall be modified within 10 days of the entry of this Order to permit BAM Management and

BAM Trading to pay existing, ordinary-course business expenses as that term is further defined

by agreement and mutual consent of the Stipulating Parties or, absent agreement of the

Stipulating Parties, by further order of the Court, and shall not include, under either

circumstance, payments, or transfer of any funds or assets, to or for the benefit of any Binance

Entity or any individual or entity acting on behalf of any such Binance Entity, including any

individual or entity with any affiliation, agreement, or other relationship with Binance, Zhao, or

any Zhao- owned or -controlled entity, without further order of the Court, and that the parties

shall engage in expedited discovery for the next 10 days in furtherance of reaching agreement

as to the proper scope of this potential carveout for payment by BAM Management and BAM

Trading of existing, ordinary course business expenses. Further , BAM Trading and BAM

Management shall not incur any new obligations for ordinary-course expenditures under this

provision without providing prior notice to counsel of record for the SEC with sufficient time

for the SEC to object to such new obligation.

       45.     IT IS FURTHER ORDERED that within 14 days of entry of the Consent

Order, Stipulating Defendants will ensure that private keys, and any portion or copy thereof

(including any devices, hardware, and/or software managing such keys, and the root access

associated with the Amazon Web Services account(s) for the Binance.US Platform), will be in

the sole possession, custody, and control of BAM Trading officers and employees who are

located in the United States, or by non-affiliated third-party custodians under the direction and

control of BAM Management and BAM Trading officers and employees located in the United

States. These private keys, and any portion or copy thereof (including any devices, hardware,

and/or software managing such keys, and the root access associated with the Amazon Web



                                                6
       Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 8 of 15




Services account(s) for the Binance.US Platform), will not be provided to or in any way shared

with the Binance Entities. BAM Trading will keep current its list of hot and cold wallets and

make that list available to counsel of record for the SEC upon request.

        56.      IT IS FURTHER ORDERED that BAM Trading may continue to transfer

Customer Assets solely to support redemptions of Customer Crypto Assets by the relevant

customer, excluding the Binance Entities, and otherwise subject to the prohibition above that

BAM Trading and BAM Management, including their officers and employees, may not in any

circumstance transfer Customer Assets to or for the benefit of any of the Binance Entities,

including any individual or entity with any affiliation, agreement, or other relationship with

Binance, Zhao, or any Zhao- owned or -controlled entity, Further, upon entry of this Consent

Order, BAM Management and BAM Trading shall not accept any deposits of Customer Assets.

       7.        IT IS FURTHER ORDERED that BAM Trading may transfer custody of

Customer Crypto Assets deposited, held, traded, staked, or accrued through BAM Trading’s

staking-as-a-service program (“Staking Assets”) solely for the purpose of effecting customer

redemptions, excluding the Binance Entities, and unstaking pursuant to the terms of the

applicable staking agreements, to custodians BitGO or Aegis provided the following criteria are

met:

              a. the control of Staking Aassets in these wallets , including, but not limited to,

                 private and administrative keys, and any portion or copy thereof (including any

                 devices, hardware, and/or software managing such keys, and the root access

                 associated with the Amazon Web Services account(s) for the Binance.US

                 Platform) is maintained and directed solely by BAM Trading officers and

                 employees located in the United States or by BitGO and Aegis;


                                                 7
       Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 9 of 15




           b. if BAM Trading holds the private keys for these wallets, or any portion or copy

               thereof (including any devices, hardware, and/or software managing such keys,

               and the root access associated with the Amazon Web Services account(s) for the

               Binance.US Platform), custody and control of these keys is held in the United

               States by BAM Trading personnel located in the United States; and

           c. all transfers and withdrawals require the approval of both BAM Trading and, as

               necessary, BitGO and Aegis.

           d. The Binance Entities shall not have possession, custody, or control of these

               Staking Assets, including, but not limited to, any authority, formally or

               informally, directly or indirectly, to control, transfer, or withdraw, these Staking

               Assets.

                                               III.

       IT IS FURTHER ORDERED that Stipulating Defendants, their directors, officers,

agents, servants, employees, attorneys, depositories, banks, and those persons in active concert

or participation with any one or more of them, and each of them, be and they hereby are

restrained and enjoined from, directly or indirectly, destroying, mutilating, concealing, altering,

disposing of, or otherwise rendering illegible in any manner, any of the books, records,

documents, correspondence, brochures, manuals, papers, ledgers, accounts, statements,

obligations, files and other property of or pertaining to Stipulating Defendants, wherever located

and in whatever form, electronic or otherwise, until further Order of this Court.

                                                 IV.

       IT IS FURTHER ORDERED that, on or before 1420 days from the date the Court

enters this Consent Order, the Stipulating Defendants, to the best of their knowledge and


                                                8
      Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 10 of 15




ability, provide counsel for the SEC with a preliminary list of:

       1. accounts and wallets holding Customer Fiat, Customer Crypto Assets, and funds

            or assets of either BAM entity, and the value of the assets held; and

       2. customers of the Binance.US trading platforms and related services, and the

            balance of Customer Assets associated with each customer’s Binance.US account

            and/or Binance.US wallet.

       IT IS FURTHER ORDERED that, on or before 1420 days from the date the Court

enters this Consent Order, Binance will provide counsel for the SEC with details about the

users on the Binance.com platform previously reflected in the aggregate U.S. KYC and

potential U.S. non-KYC trading datasets produced to the SEC on December 6, 2021 and

August 18, 2022 reflecting U.S. KYC users who engaged in transactions on Binance.com

beginning on June 1, 2019 and ending in September 2021 and potential U.S. non-KYC users

who engaged in transactions on Binance.com beginning on June 1, 2019 and ending on

January 19, 2022. To the extent such users remain on the Binance.com platform, Binance will

provide counsel for the SEC with details of their restricted account balances.

       IT IS FURTHER ORDERED that, on or before 45 30 days from the date the Court

issues this Consent Order, the Stipulating Defendants shall serve upon the Commission a verified

written accounting, which each of the Stipulating Defendants must sign, including through an

officer for each entity authorized to sign on behalf of and bind the entity Defendants, under

penalty of perjury, providing the following information;

       1.      Each account or wallet holding Customer Assets or assets of either BAM entity,

regardless of the account or wallet holder or signatory, and/or maintained in any BAM entity’s

name, held by any BAM entity or for any BAM entity’s direct or indirect beneficial interest, or


                                                9
      Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 11 of 15




over which any BAM entity exercised any direct or indirect control from January 1September

30, 20223, through the date of the accounting, including the name of the financial institution,

exchange, or other entity or individual holding such account or wallet, name and last four digits

of the account number, and the wallet address; and

        2.      All assets, funds, crypto assets, securities, or other property, real or personal,

within each BAM entity’s possession, custody, or control, that is valued greater than $1,000,

that was transferred to or for the benefit of any Defendant or any Binance Entity from January

September 30 1, 20223, to the date of the accounting, including a description of each transfer

and what was transferred, the value of the transferred asset, the name of the recipient, the date

of the transfer, and the reason for the transfer;

                                                    V.

        IT IS FURTHER ORDERED THAT, commencing with the time and date of this

Order, in lieu of the time periods, notice provisions, and other requirements of Rules 26, 30, 33,

34, 36 and 45 of the Federal Rules of Civil Procedure, discovery shall proceed as follows:

        1.    For the next 90 days, the SEC may conduct, in addition to the ordinary-course

expenditure discovery set forth in Section II.3 herein, expedited discovery of the Stipulating

Defendants, provided that such expedited discovery shall not commence against Binance and

Zhao for 30 days, concerning the possession, custody, control, transfer or movement of

Customer Assets and their       possession, custody, control, transfer or movement, security,

segregation, availability, and any encumbrances or limitations that would make them

unavailable for transfer or withdrawal by customers, including, but not limited to type, identity,

location, value, custody, control, restrictions, and whether there are sufficient assets to satisfy

customer liabilities or meet customer claims for Customer Assets held on their behalf. This


                                                    10
      Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 12 of 15




limited expedited discovery pertaining to the Customer Assets shall not be counted against any

discovery limits imposed under the Federal Rules of Civil Procedure;

       2.     Pursuant to Rule 30(a) of the Federal Rules of Civil Procedure, the SEC may take

depositions of BAM Trading, BAM Management, BAM Trading or BAM Management

directors, officers, and/or employees, Binance, personnel or Binance personnel involved in or

otherwise knowledgeable about asset clearing, custody, and control; software development and

operational tasks associated with asset clearing, custody, and control, Zhao, and/or third parties

regarding the Customer Assets and their possession, custody, control, transfer, movement,

security, segregation, availability, and any encumbrances or limitations that would make them

unavailable for transfer or withdrawal by customers, including, but not limited to type, identity,

location, value, custody, control, restrictions, and whether there are sufficient assets to satisfy

customer liabilities or meet customer claims for Customer Assets held on their behalf,

0possession, custody, control, transfer or movement of Customer Assets upon oral examination

on 10 calendar days’ notice of any such deposition. As to such personnel, the SEC may depose

such witnesses after serving a deposition notice by email, hand, or overnight courier upon such

individuals, and without serving a subpoena on such witness. If the Stipulating Parties agree to

conduct any depositions virtually, and the oath of the deponent may be administered remotely

by the court reporter, through audio-video means, and this oath shall have the same effect as if

given in the physical presence of the deponent. Depositions that have not been signed by the

witness may be used for purposes of any hearing relating to this preliminary injunction. Absent

good cause, Ddepositions of persons located outside the United States shall presumptively be

conducted remotely, provided such persons are located in or will travel to a location where

voluntary depositions and testimony under penalty of perjury pursuant to the Federal Rules of



                                                11
      Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 13 of 15




Civil Procedure is permitted. The SEC may request any such deposition occur in person, but

will make reasonable efforts to agree to a mutually-acceptable location;

        3.    Pursuant to Rule 33(a) of the Federal Rules of Civil Procedure the Stipulating

Defendants shall answer any interrogatories served by the SEC regarding Customer Assets and

their possession, custody, control, transfer, movement, security, segregation, availability, and

any encumbrances or limitations that would make them unavailable for transfer or withdrawal

by customers, including, but not limited to type, identity, location, value, custody, control,

restrictions, and whether there are sufficient assets to satisfy customer liabilities or meet

customer claims for Customer Assets held on their behalf, the possession, custody, control,

transfer or movement of Customer Assets within 20 14 calendar days of service of such

interrogatories;

        4.    Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, the Stipulating

Defendants shall produce all documents requested by the SEC regarding the Customer Assets

and their possession, custody, control, transfer, movement, security, segregation, availability,

and any encumbrances or limitations that would make them unavailable for transfer or

withdrawal by customers, including, but not limited to type, identity, location, value, custody,

control, restrictions, and whether there are sufficient assets to satisfy customer liabilities or meet

customer claims for Customer Assets held on their behalf possession, custody, control, transfer

or movement of Customer Assets within 10 calendar days of service of such request, with

production of the documents made to counsel of record for the SEC or such other person or

place as counsel for the SEC may direct in writing; and

        5.    All written responses to the SEC’s requests for discovery under the Federal Rules

of Civil Procedure shall be delivered electronically, or such other place and person as counsel



                                                 12
      Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 14 of 15




for the SEC may direct in writing.

       IT IS FURTHER ORDERED THAT nothing in this Consent Order shall otherwise

alter the rights, obligations, or duties of the Stipulating Defendants.

                                                VI.

       IT IS FURTHER ORDERED THAT for purposes of this action only Stipulating

Defendants have agreed to waive service of the Summons and Complaint pursuant to Federal

Rule of Civil Procedure 4(d) and to accept service through counsel of record of any further filing

or other process in this case.

                                               VII.

       IT IS FURTHER ORDERED THAT nothing in this Consent Order shall otherwise

alter the rights, obligations, or duties of the Stipulating Defendants or the SEC.

                                               VIII.

       IT IS FURTHER ORDERED THAT this Court shall retain jurisdiction over the

Stipulating Defendants in order to impose, implement, and carry out, and enforce the terms of

this Consent Order.

                                              VIIIIX.

       The Stipulating Pparties retain the right to seek additional relief, or relief from this

Consent Order, as available under the Federal Rules of Civil Procedure and applicable law,

including but not limited to Binance’s and Zhao’s ability to contest jurisdiction other than

jurisdiction to impose, implement, carry out, and enforce this Consent Order.

                                                X.

       IT IS FURTHER ORDERED THAT this Order binds the following who receive



                                                13
       Case 1:23-cv-01599-ABJ Document 57-1 Filed 06/13/23 Page 15 of 15




 actual notice of this Stipulation and Consent Order by personal service or otherwise: (a) each

 Stipulating Defendant’s officers, agents, servants, employees, and attorneys; (b) other persons

 in active concert or participation with Stipulating Defendants or with anyone described in (a).

 Defendants must provide such notice upon entry of this Consent Order.




 SO AGREED this            day of June, 2023




s/Matthew Scarlato
Matthew Scarlato                                      Counsel for BAM Trading Services, Inc.
Jennifer L. Farer
J. Emmett Murphy
U.S. SECURITIES AND EXCHANGE COMMISSION
100 F Street N.E.
Washington, D.C. 20549                                Counsel for BAM Management US Holdings, Inc.

Phone: (202) 551-3746 (Scarlato)
       (202) 551-5072 (Farer)
       (212) 336-0078 (Murphy)                        Counsel for Binance Holdings Limited Inc.

Emails: scarlatom@sec.gov
        farerj@sec.gov
        murphyJoh@sec.gov                             Counsel for Changpeng Zhao
Counsel for Plaintiff




 SO ORDERED this            day of June, 2023.




                                               UNITED STATES DISTRICT JUDGE

                                                 14
